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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

_____________________________________
SOLOMON DANIEL                         )               CIVIL ACTION NO.
     Plaintiff,                        )               3:13-CV-01336-RNC
                                       )
v.                                     )
                                       )
MIDLAND FUNDING, LLC                   )
     Defendant                         )               JUNE 18, 2014
________________________________ _____ )


                             STIPULATION OF DISMISSAL

      Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), the plaintiff, Solomon Daniel,

through his attorney, and the defendant, Midland Funding LLC, through their attorneys,

hereby stipulate that the claims of the above-entitled action shall be dismissed with

prejudice and without costs or attorney’s fees.


                                         PLAINTIFF, SOLOMON DANIEL


                                         By: /s/ Daniel S. Blinn___
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                                          DEFENDANT, MIDLAND FUNDING, LLC

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                                    CERTIFICATION

        I hereby certify that on this 18th day of June, 2014, a copy of the foregoing was
filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.

                                           /s/ Daniel S. Blinn_________
                                              Daniel S. Blinn




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